Case 2:20-cv-06052-JWH-KK Document 10 Filed 11/04/20 Page 1 of 1 Page ID #:51




 1
 2
 3
 4
 5
 6
                           UNITED STATES DISTRICT COURT
 7
                          CENTRAL DISTRICT OF CALIFORNIA
 8
 9
10    JULIAN BALDERRAMA,                          Case No. CV 20-06052-JWH (KK)
11                               Plaintiff,
12                        v.                      ORDER ACCEPTING FINDINGS
                                                  AND RECOMMENDATION OF
13    CALIFORNIA DEPARTMENT OF                    UNITED STATES MAGISTRATE
      CORRECTIONS AND                             JUDGE
14    REHABILITATION,
15                               Defendant.
16
17
18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the
19   relevant records on file, and the Report and Recommendation of the United States
20   Magistrate Judge. No objections have been filed. The Court accepts the findings and
21   recommendation of the Magistrate Judge.
22         IT IS THEREFORE ORDERED that Judgment be entered dismissing this
23   action without prejudice.
24
25   Dated: November 4, 2020
26
                                              HONORABLE JOHN W. HOLCOMB
27                                            United States District Judge
28
